                                    US DISTRICT COURT
                                   Eastern District of Texas


                                                                            Clerk, US. District Court
CRAIG CUNNINGHAM, an                                                              Texas Eastern
Individual,

         Plaintiff,                                 Case Number:      4:18cv682

vs.


Niagara Restitution Services, Inc, Yamal Ramirez, and John/Jane Does 1-5
      Defendant.
                                            /


                                 Plaintiffs Ori inal Complaint


      1. The Plaintiff in this case is Craig Cunningham, a natural person and can be served

         documents at the address of the undersigned below.

      2. Niagara Restitution Services, Inc., is a New York Corporation operating from

          1349 Caravelle Dr., Niagara Falls, New York 14304 and can be served at Yamal

         Ramirez 4246 Ridge Lea Rd., ste 47 Amherst, New YOrk 14226 or the address

         above.


      3. Yamal Ramirez is a natural person and corporate executive and registered agent

         for Niagara Restitution and can be served at 4246 Ridge Lea Rd., ste 47, Amherst,

         New York 14226 or 1349 Caravelle Dr., Niagara Falls, New York 14304 or 5511

         N. Winston Park Blvd., Apt 108 Coconut Creek, FL 33073




                                                Jurisdiction

      4. Jurisdiction of this court arises as the acts happened and the defendants live and

         work in this district
5. Venue in this District is proper in that the defendants transact business here, and

   the acts and transactions occurred here.




                                FACTUAL ALLEGATIONS

6. In 2017 through the present, the Plaintiff received multiple automated phone calls

   with a pre-recorded message to the Plaintiffs cell phone.

7. The Plaintiff received at least one call from 844-230-2959 on May 30, 2017

   which is associated with Niagara Restitution, Inc. The call was initiated with an

   automated telephone di ing system and contained a pre-recorded message which

   stated This message is being left to serve Meghan Gordon with notice. We are

   calling in reference to fi'a dulent information placed on file concerning yo r

   account. The case number for yo to reference to is case number 113986. At this

   point, Federal law states that we must get a statement of intent from you to better

   understand the course of action in which you must take to rectify this matter.

   Failure to respond in internal action. Contact us at 8-4-4 dash 2-3-0 dash 2-9-5-

   9"


8. Yamal Ramirez sought to collect a non-existant debt from the Plaintiff through

   Niagara Restitution by delivering automated calls with pre-recorded messages to

   the Plaintiffs cell phone.

9. The Plaintiff called the number back and spoke with an agent that identified

   himself as working for Niagara Restitution. At no point during the pre-recorded

   message was the name or entity of Niagara Restitution disclosed as required

   under the TCP A.




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10. The agent made reference to having Mrs Gordan giving a call before turning the

   matter over to wake county in North Carolina to make a “voluntary statement

   regarding the situation going on indicating that they were threatening criminal

   action against the Plaintiff or Meghan Gordon in response to a purported civil

   debt. The agent also admitted that their system” dialed the Plaintiff in reference

   to an automated telephone dialing system as defined by the TCPA.

11. Another agent the Plaintiff spoke with stated that its a felony for us to do 3rd

   party disclosure , which is a false or misleading representation in violation of hte

   FDCPA 15 USC 1692(e). Violating the FDCPA is not a felony.

12. On another call with an agent of Niagara, the agent stated that Meghan Gordon

   defaulted on a civil debt for an installment loan. The agent claimed Meghan was

   supposed to pay $400 originally and the current balance was $770. The agent

   claimed he was trying to detennine if the default was done intentionally and if not

   done intentionally, Niagara would expect a voluntary resolution, without the

   involvement of Wade county or the state of North Carolina" once again

   suggesting that there would be some criminal enforcement for at best a civil debt.

   The agent stated that the debt was accruing over the past 5 years, which is well

   past the statute of limitations in North Carolina, which means that all threats of

   civil litigation and wage garnishment are false or misleading representations as

   well.


13. The agent also threatened to garnish the wages of Meghan Gordon without filing

   a lawsuit or even getting good service on Meghan Gordon.




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14. These phone calls violated the TCPA, 47 USC 227 et seq in two ways, first by

   having a pre-recorded message that failed to have the mandated identification

   infonnation such as the name of the calling entity, maintaining a written do not

   call policy, training agents on the do not call policy, identification of sellers and

   telemarketers, which violate 47 USC 227(c)(5) under the FCC s rule making

   authority in 47 CFR 64.1200(d) which entitles the Plaintiff to $1500 per call and

   second by the automated nature of them and by containing pre-recorded messages

   that were directed to the Plaintiffs cell phone, which violates 47 USC 227(b) and

   additionally entitles the Plaintiff to an award of $1500 per call. In total, each call

   entitles the Plaintiff to recover $3,000 per call.

15. Yamal Ramirez is individually, jointly, and severally liable for the calls placed by

   or on behalf of Niagara Restitution as they personally participated and authorized

   the calls to be placed to the Plaintiff. Yamal knew that the illegal calls would be

   placed and sought to profit from coercing consumers to pay imaginary debts.

16. The calls were from 844-230-2959 and started with a pre-recorded message that

   stated: This message is being left to serve Meagan Gordon with notice. We are

   calling in reference to fraudulent information placed on file concerning your

   account. The Case number for you to reference to is case number 113986 at this

   point, Federal law states that we must get a statement of intent from yo to better

   understand the course of action you must take to rectify this matter. Failure to

   respond will result in internal action. Contact us at 844-230-2959 The message

   then repeated. The Plaintiff called the 844 number back and spoke with an agent

   that confirmed he worked for Niagara Restitution and claimed the matter would




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          be turned over to Wade County in North Carolina clearly threatening criminal

          action would be taken if a civil debt wasn t paid.

     17. The Plaintiff immediately recognized that just the call at this point violated the

          TCPA and the allegations of criminal activity and false or misleading

          representations in the call violated the FDCPA and Texas Finance Code 392 as

          well. Further ore, given the nature of the call threatening criminal charges and

          fraud for a civil claim at best, the call could very well be a fraudulent attempt to

          scare and coerce consumers into paying debts that don’t exist.

     18. The FTC even has an entire webpage dedicated to the recent emergence of fake

          debt collectors and cites indications of a fake debt collector that refuses to give

         yo a mailing address or phone number, or exerts high pressure to scare you into


         paying, such as threatening to have you arrested or to report you to a law

         enforcement agency             In an attempt to identify the callers that were calling from

         a blocked number and were exerting high pressure scare tactics such as

         threatening arrest and fraud charges, the Plaintiff claimed that Megan Gordan was

         his wife.

     19. Additionally, the agent claimed that they were collecting on behalf of Cutter

         Group for an amount deliquent on July 4, 2012. The agent then launched into

         nonsensical allegations claiming they were looking into a “violation of a bad

         check situation although he states that there wasn’t a written check, and claims

         that an installment or payment loan was given and default occured. The original

         payment was alleged to have been $440 with a default penalty of $300 without

         any litigation fees or interest over the last 5 years and sought a payment of $770. I

Ihttps://www.consumer.ftc.gov/articles/0258-fake-debt-collectors



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          The agent claimed he wanted to find out if this was done intentionally or not

          and based that on the person s conduct during the investigation stage. The agent

          claimed that if the payment wasn’t made voluntarily it would involve Wade

          county or the state of North Carolina and that they wouldn’t be able to get her

          served. The agent claimed Megan would have a vacated judgment against her

          which would result in administrative wage garnishment and Mrs Gordon would

          be responsible for 5 years of interest compounding daily plus attorney’s fees and

          court costs.


     20. Furthennore, a debt in 2012 would be well past the statute of limitations to collect

          or bring charges for in 2017 in Florida and Texas on a civil or criminal level. The

          FTC again provides some guidance for consumer as they have an entire webpage

          dedicated to the topic of time barred debts and the agency notes: "It is against the

          law for a collector to sue you or threaten to sue you on a time barred debt 1

     21. At no time was Niagara bonded with the state of Texas as debt collectors are

          supposed to be. This is a violation of the Texas Finance Code 392.

     22. Niagara violated the FDCPA and Texas Finance Code 392 by making false or

          misleading representations likely to deceive an unsophisticated consumer by

          misrepresenting the amount of a debt.

     23. Niagara violated the FDCPA and Texas Finance Code 392 by falsely representing

         that non payment of a debt would result in arrest or imprisonment.

    24. Niagara violated the FDCPA and Texas Finance Code 392.301 by alleging that

         criminal charges would be filed for non-payment of a debt.




2https:/Avww.consumcr.ftc.gov/articlcs/0l 17-lime-barred-debts



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25. Niagara violated the FDCPA and Texas Finance code 392.301 by threatening to

   file suit on a time barred debt.

26. Niagara violated the FDCPA and Texas Finance Code 392 by using a name other

   than the true business name in an attempt to collect a debt.

27. Niagara violated the FDCPA by threatening to sue the Plaintiff for a time barred

   debt.




                             CAUSES OF ACTION:

                                      COUNT I

           Violations of the Telephone Consumer Protection Act (TCPA)

28. Plaintiff Cunningham incorporates by reference all of the above paragraphs of

   this complaint as though fully stated herein.




29. The foregoing actions by the Defendants constitute multiple breaches of the

   TCPA by placing calls with pre-recorded/automated messages to the Plaintiffs

   cell phone that lacked the name, address, and phone number of the entity placing

   the phone calls. These actions violate 47 USC 227(b) and entitle the Plaintiff to

   $1500 per call in damages as these were willful actions.




                             CAUSES OF ACTION:

                                      COUNT II

           Violations of the Telephone Consumer Protection Act (TCPA)




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30. Plaintiff Cunningham incorporates by reference all of the above paragraphs of

   this complaint as though fully stated herein.




31. The foregoing actions by the Defendants constitute multiple breaches of the

   TCPA by placing unsolicited and unwelcome telephone calls to the Plaintiffs cell

   phone. These phone calls also violated the TCPA by having an pre-recorded

   message. These calls also violated 47 USC 227(c)(5)

                             CAUSES OF ACTION:

                                    COUNT m

   Violations of the Fair Debt Collection Practices Act (FDCPA) 15 USC 1681 et

                                           seq

32. Plaintiff Cunningham incorporates by reference all of the above paragraphs of

   this complaint as though fully stated herein.




33. The foregoing actions by the Defendants constitute multiple breaches of the

   FDCPA by placing unsolicited and unwelcome telephone calls to the Plaintiffs

   cell phone and by making false or misleading representations and threats of legal

   action that can t legally be taken.

                                    COUNT TV

                       Violations of the Texas Finance Code 392

34. Plaintiff Cunningham incorporates by reference all of the above paragraphs of

   this complaint as though fully stated herein.




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35. The foregoing actions by the Defendants constitute multiple breaches of the

   FDCPA by placing unsolicited and unwelcome telephone calls to the Plaintiff s

   cell phone and by making false or isleading representations and threats of legal

   action that can t legally be taken.




36. The foregoing actions by the Defendants constitute multiple breaches of the

   Texas Finance Code 392 by placing unsolicited and unwelcome telephone calls to

   the Plaintiffs cell phone and by making false, misleading, and threatening

   representations likely to deceive a consumer.

                                     Count V

            Violations of the Texas Business and Commerce Code

37. Plaintiff Cunningham incorporates by reference all of the above paragraphs of

   this complaint as though fully stated herein.




38. The foregoing actions by the Defendants constitute multiple breaches of the

   Texas Business and Commcerce code 305.053 by violating the TCPA 47 USC

   227




                   PRAYER FOR D MAGES AND RELIEFS

A. WHEREFORE, Plaintiff, Cunningham, respectfully prays and requests that

   judgment be entered against each and every defendant for the following:

B. Statutory damages of $3000 for each phone call for violations of the TCPA.




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   C. Statutory damages in the amount of $1500 for violations of the Texas Business

       and Commerce code

   D. Damages of $5,000 per violation of the Texas Finance Code 392

   E. Punitive Damage of $100,000 for violations of the Texas Finance Code and

      FDCPA

   F. Actual damages as determined by a judge/jury

   G. Pre-judgment interest from the date of the phone calls.

   H. Attorney s fees for bringing this action; and

   I. Costs of bringing this action; and

   J. For such other and further relief as the Court may deem just and proper




5543 Edmondson Pike, ste 248 Nashville, TN 37211, 615-348-1977 9/26/2018




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